                                                                       Case 2:18-bk-20151-ER            Doc 3830 Filed 12/19/19 Entered 12/19/19 15:38:47               Desc
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                                                                       1   Steven J. Kahn (CA Bar No. 76933)
                                                                           PACHULSKI STANG ZIEHL & JONES LLP
                                                                       2   10100 Santa Monica Blvd., 13th Floor
                                                                           Los Angeles, California 90067                                    FILED & ENTERED
                                                                       3   Telephone: 310/277-6910
                                                                           Facsimile: 310/201-0760
                                                                       4   E-mail: skahn@pszjlaw.com                                              DEC 19 2019
                                                                       5   Co-Counsel to Chapter 11 Debtors and
                                                                           Debtors In Possession                                             CLERK U.S. BANKRUPTCY COURT
                                                                                                                                             Central District of California
                                                                       6                                                                     BY gonzalez DEPUTY CLERK
                                                                                                         UNITED STATES BANKRUPTCY COURT
                                                                       7                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                       8   In re                                                 Lead Case No. 2:18-bk-20151-ER
                                                                       9   VERITY HEALTH SYSTEM OF CALIFORNIA,                   Jointly administered with:
                                                                           INC., et al.,                                         Case No. 2:18-bk-20162-ER;
                                                                      10                                                         Case No. 2:18-bk-20163-ER;
                                                                                   Debtors and Debtors In Possession.            Case No. 2:18-bk-20164-ER;
                                                                      11                                                         Case No. 2:18-bk-20165-ER;
                                                                            Affects All Debtors                                 Case No. 2:18-bk-20167-ER;
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12    Affects Verity Health System of California, Inc.    Case No. 2:18-bk-20168-ER;
                                                                            Affects O’Connor Hospital                           Case No. 2:18-bk-20169-ER;
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13    Affects Saint Louise Regional Hospital              Case No. 2:18-bk-20171-ER;
                                            ATTOR NE YS A T L AW




                                                                            Affects St. Francis Medical Center                  Case No. 2:18-bk-20172-ER;
                                                                      14    Affects St. Vincent Medical Center                  Case No. 2:18-bk-20173-ER;
                                                                            Affects Seton Medical Center                        Case No. 2:18-bk-20175-ER;
                                                                      15    Affects O’Connor Hospital Foundation                Case No. 2:18-bk-20176-ER;
                                                                            Affects Saint Louise Regional Hospital Foundation   Case No. 2:18-bk-20178-ER;
                                                                      16    Affects St. Francis Medical Center of Lynwood       Case No. 2:18-bk-20179-ER;
                                                                             Foundation                                          Case No. 2:18-bk-20180-ER;
                                                                      17    Affects St. Vincent Foundation                      Case No. 2:18-bk-20181-ER;
                                                                            Affects St. Vincent Dialysis Center, Inc.
                                                                      18    Affects Seton Medical Center Foundation             Chapter 11 Cases
                                                                            Affects Verity Business Services
                                                                      19    Affects Verity Medical Foundation                   Hon. Ernest M. Robles
                                                                            Affects Verity Holdings, LLC
                                                                      20    Affects De Paul Ventures, LLC                       ORDER GRANTING DEBTORS’ MOTION
                                                                            Affects De Paul Ventures - San Jose Dialysis, LLC   TO APPROVE COMPROMISE AMONG
                                                                      21                                                         VERITY HEALTH SYSTEM OF
                                                                                      Debtors and Debtors In Possession.         CALIFORNIA, INC., ST. FRANCIS
                                                                      22                                                         MEDICAL CENTER, ST. VINCENT
                                                                                                                                 MEDICAL CENTER AND LOCAL
                                                                      23                                                         INITIATIVE HEALTH AUTHORITY FOR
                                                                                                                                 LOS ANGELES COUNTY D/B/A L.A.
                                                                      24                                                         CARE HEALTH PLAN
                                                                      25                                                         [Relates to Docket No. 3667]
                                                                      26                                                         HEARING:
                                                                                                                                 Date: December 18, 2019
                                                                      27                                                         Time: 10:00 a.m.
                                                                                                                                 Place: Courtroom 1568
                                                                      28

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                                                                           DOCS_LA:326661.1 89566/002
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                                                                       1              The Court has considered the Motion to Approve Compromise Among Verity Health System

                                                                       2   of California, Inc., St. Francis Medical Center, St. Vincent Medical Center and Local Initiative

                                                                       3   Health Authority for Los Angeles County d/b/a L.A. Care Health Plan (the “Motion”)1 [Docket No.

                                                                       4   3667], through which the Debtors seek approval of entry into a settlement agreement and general

                                                                       5   release executed on November 19, 2019 (the “Settlement Agreement”). The terms and conditions of

                                                                       6   the compromise and settlement agreement are specifically set forth in the Settlement Agreement

                                                                       7   between the parties thereto, a copy of which is attached to the Declaration of Richard G. Adcock

                                                                       8   filed in support of the motion. No opposition to the Motion has been filed or served.

                                                                       9              Based upon the Court’s review of the Motion, for good cause shown, and for the reasons set

                                                                      10   forth in the Court’s tentative ruling [Docket No. 3826], which the Court adopts as its final ruling and

                                                                      11   which is incorporated herein by reference,
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12              IT IS HEREBY ORDERED:
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13              1.       The Motion is granted and the Settlement Agreement is approved in its entirety; and
                                            ATTOR NE YS A T L AW




                                                                      14              2.       The parties to the Settlement Agreement are authorized to enter into the Settlement

                                                                      15   Agreement and take any and all actions reasonably necessary to consummate the terms thereof.

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                                                                      24       Date: December 19, 2019

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                                                                               Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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